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                       1   JEFFREY E. TSAI (SBN 226081)
                           jeff.tsai@dlapiper.com
                       2   ISABELLE L. ORD (SBN 198224)
                           isabelle.ord@dlapiper.com
                       3   DAVID F. GROSS (SBN 083547)
                           david.gross@dlapiper.com
                       4   ANTHONY L. PORTELLI (SBN 280766)
                           anthony.portelli@dlapiper.com
                       5   DLA PIPER LLP (US)
                           555 Mission Street, Suite 2400
                       6   San Francisco, CA 94105
                           Tel: 415.836.2500
                       7   Fax: 415.836.2501

                       8   Attorneys for Plaintiffs
                           STACKLA, INC., STACKLA, LTD., and
                       9   STACKLA PTY LTD.
                      10
                                                            UNITED STATES DISTRICT COURT
                      11
                                                      NORTHERN DISTRICT OF CALIFORNIA
                      12
                                                               SAN FRANCISCO DIVISION
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                      14   STACKLA, INC., a Delaware Corporation,         Case No. 3:19-cv-5849
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                           Company, and STACKLA, PTY, an
                                                                          PLAINTIFFS’ MEMORANDUM OF
                      16   Australian Proprietary Limited Company,        POINTS AND AUTHORITIES IN
                                                                          SUPPORT OF EX PARTE MOTION FOR
                      17                      Plaintiffs,                 TEMPORARY RESTRAINING ORDER
                                                                          AND ORDER TO SHOW CAUSE RE
                      18   v.                                             PRELIMINARY INJUNCTION
                      19   FACEBOOK, INC., a Delaware Corporation,
                           INSTAGRAM, LLC, a Delaware Limited
                      20   Liability Company, and DOES 1-50,
                      21
                                              Defendants.
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                       1   I.      INTRODUCTION

                       2           Defendants Facebook, Inc. and Instagram, LLC (together, “Defendants”), the world’s

                       3   largest social network with over 2.4 billion monthly active users, abruptly and unlawfully

                       4   terminated the access of Plaintiffs Stackla Pty. Ltd. (“Stackla Pty”), Stackla Ltd., and Stackla Inc.

                       5   (“Stackla US”) (collectively, “Stackla”) to their platforms and public content thereon although

                       6   Defendants know that Stackla’s entire business model relies on access to that content. Stackla is

                       7   an enterprise platform that enables its clients to source high-quality, branded, public content

                       8   created by loyal customers on social media, gain rights to use this content, and then re-purpose it

                       9   for marketing activities. See Declaration of Damien Mahoney (“Mahoney Decl.”), ¶ 5. More than

                      10   80 percent of the content sourced for Stackla’s customers comes from public material on

                      11   Facebook and Instagram, and without access to those platforms, Stackla’s business will be

                      12   destroyed. Id., ¶ 13. As a result of Defendants’ conduct a majority of Stackla’s 280 major

                      13   business customers have already raised concerns regarding lack of access and Stackla’s breach of

                      14   their agreements, and if Stackla’s access to Defendants’ platforms is not restored, Stackla will be

                      15   irreparably harmed because its business will be destroyed and it will become insolvent. Id., ¶ 36.

                      16           Defendants’ conduct is inexplicable because Defendants have not identified any actual

                      17   harm to themselves or their users from Stackla’s use of their platforms. Further, Defendants

                      18   acknowledge that the content belongs to the users, who choose whether to designate that content

                      19   as public. Yet, Defendants purportedly cut Stackla off from their platforms to protect their users

                      20   and users’ content. This is plainly pre-textual because Defendants recently vetted and approved

                      21   Stackla’s access to their platforms as an official Facebook Marketing Partner (“FMP”) after over

                      22   a year of reviews and diligence of Stackla’s business model and application.

                      23           This Court should issue a temporary restraining order and preliminary injunction to enjoin

                      24   Defendants from denying Stackla access to Defendants’ platforms and the public content

                      25   available thereon because Stackla’s business will be destroyed without this relief. Stackla alleges

                      26   a number of claims for relief against Defendants herein which demonstrate that Defendants’

                      27   actions are anti-competitive and designed to prevent Stackla and anyone but Defendants from

                      28   using public content for business purposes. Defendants cannot use the law for an improper
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                       1   purpose to obtain exclusive proprietary control over public data that is owned by their users, and

                       2   which anyone can freely access—except Stackla. Defendants have threatened to sue Stackla

                       3   under manifestly inapposite federal and state laws pertaining to unauthorized computer and

                       4   network access and to intimidate Stackla into abandoning any reliance on Facebook or Instagram.

                       5            Defendants have put Stackla in an impossible position. If Stackla acquiesces to

                       6   Defendants’ unreasonable demands and has no access to Defendants’ platforms, Stackla’s

                       7   business will be destroyed. Stackla therefore has filed this action to obtain a declaration of the

                       8   parties’ rights and liabilities under the federal and state laws relied on by Defendants and for

                       9   affirmative relief under common law, statutes, and contract for Defendants’ unlawful actions—
                      10   which appear to be an attempt to and will in fact destroy Stackla’s business. Stackla meets the

                      11   legal standard for a temporary restraining order and a preliminary injunction as set forth here.

                      12   Relief is immediately required because Stackla will lose its client contracts, employees, business

                      13   goodwill, investors, and its IPO opportunity, and will be insolvent if it cannot access the public

                      14   social media content on which its business depends. Mahoney Decl., ¶¶ 38-39. By contrast,

                      15   Defendants have not asserted any harm to themselves or their users by Stackla’s continued access

                      16   to their platforms and public content that it formerly enjoyed with Facebook’s approval.

                      17   II.      QUESTIONS PRESENTED
                      18   1.       Do Defendants’ Actions Threaten Immediate, Irreparable Harm to Stackla? Yes.

                      19   Denying Stackla access to Defendants’ platforms and public content will destroy Stackla’s
                      20   business and cause Stackla to become insolvent. This is tantamount to a corporate death sentence

                      21   and no more serious harm to a business is possible.

                      22   2.       Does Stackla Present A Likelihood of Success on the Merits? Yes. Applicable law

                      23   establishes that Defendants cannot selectively deny Stackla access for an unfair purpose to

                      24   effectively choose market winners and losers by providing themselves and others an exclusive

                      25   right to public content of Defendants’ users. These users, not Defendants, own the content and

                      26   designate it as public. Defendants’ reliance on laws to prevent abusive computer and network

                      27   invasion perverts the principles of those laws by using them as a sword to prevent legitimate use

                      28   rather than as a shield against unlawful harm. Defendants’ conduct is intentional and anti-
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                       1   competitive, detrimentally interferes with Stackla’s business and its contracts with its clients, is a

                       2   prime example of unfair business practices, and is in breach of the parties’ agreements and the

                       3   implied covenant of good faith and fair dealing. Defendants are also estopped to deny Stackla

                       4   access to the user content because Defendants promised that user data would be public, and

                       5   reviewed and approved Stackla’s business model and application for Stackla to be a FMP

                       6   knowing that Stackla’s business model is dependent on access to Defendants’ platforms.

                       7   3.       Does the Balance of Equities Tip Sharply in Stackla’s Favor? Yes. Without an

                       8   injunction Stackla’s business will be destroyed and Stackla will be insolvent. In contrast,

                       9   Defendants will not be harmed by permitting the status quo to continue while the merits are
                      10   decided. The scales of justice in this case are tipped fully in Stackla’s favor.

                      11   4.       Would the Requested Injunction Serve the Public Interest? Yes. The public has an

                      12   interest in the free flow of public information and the preservation of a valuable company like

                      13   Stackla, which will otherwise be forced to shut down long before the merits can be decided. The

                      14   public also has an important interest in ensuring proper enforcement of California’s Unfair

                      15   Competition Law, the restraint of improper and anti-competitive behavior, and in enjoying the

                      16   benefits, both economic and moral, of preserving a level playing field and the status quo.

                      17   III.     STATEMENT OF FACTS
                      18            A.       Stackla’s Business Model and Application Rely on Facebook and Instagram
                      19            Stackla’s business1 is predicated on access to publicly available information on Facebook
                      20   and Instagram. Virtually all of Stackla’s clients are heavily and almost exclusively reliant on

                      21   Facebook and Instagram content to derive value from Stackla’s platform. Id., ¶ 15. In fact,

                      22   approximately 80 percent of the content collected by Stackla’s clients comes from publicly

                      23   available information created by social media users on Facebook and Instagram. Id., ¶ 13. If

                      24   Stackla does not have access to this content, Stackla’s clients will not use Stackla, and Stackla

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                             Stackla operates a software-as-a-service (SaaS) business and sells annual cloud software subscriptions to clients.
                      26   Mahoney Decl., ¶ 9. Stackla operates through three related companies servicing different regions throughout the
                           world. Id., ¶ 8. Stackla has more than 280 major business clients, including many of the world’s most recognizable
                      27   brands, such as McDonalds, Cirque du Soleil, LUSH Cosmetics, Leading Hotels of the World and Expedia. Id., ¶ 9.
                           Stackla helps its clients source high-quality, branded, public content from their loyal customers, gain approval to use
                      28   this content, and then re-purpose this content in their own marketing activities. Id., ¶ 5.
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                       1   will be damaged to the point that the business will be unable to continue. Id., ¶ 15-16. Without

                       2   access to Facebook and Instagram, Stackla will be required to terminate its customer contracts,

                       3   lay off its employees, lose its investor relationship, forgo its initial public offering, and will be

                       4   insolvent. Id., ¶ 2.

                       5           Stackla’s business model and application allow its clients to access public content on

                       6   Facebook and Instagram through open source methods permitted by Facebook. Id., ¶ 13. All

                       7   content is publicly available and sourced via approved or publicly available endpoints from

                       8   Facebook and Instagram. Id. Stackla’s platform does not interact with, change, or interfere with

                       9   the user interfaces for Facebook or Instagram, and does not access private content that is visible
                      10   only to “friends” or “followers” of users. Id., ¶ 14.

                      11           Stackla uses the Facebook Open Graph Application Programming Interface (or “API”)

                      12   developed and offered by Facebook for third party application developers like Stackla to allow

                      13   Stackla’s customers to discover content on Facebook or Instagram. Access by Stackla’s clients is

                      14   enabled only through the clients’ unique access tokens generated via Facebook’s own

                      15   authentication process. All content collected through the API is publicly available and sourced

                      16   via approved or publicly available endpoints from Facebook and Instagram. Id. Stackla queries

                      17   that data to discover the most compelling public content produced by social media users about the

                      18   brands of Stackla’s clients, which Stackla curates, sorts, and stages for review by the clients.

                      19   Then, Stackla facilitates a process to enable Stackla’s clients to acquire the rights to the selected
                      20   content from the social media users who created it, and once approved, Stackla’s clients can use

                      21   this rights-approved content in their own marketing campaigns across the web, in social media

                      22   posts, digital advertising, e-commerce, and live event screen/billboard advertising. Mahoney

                      23   Decl., ¶ 11.

                      24           B.      Defendants’ Platforms and Public User Content
                      25           Defendants comprise the world’s largest social network, with over 2.4 billion monthly

                      26   active users. Facebook “enable[s] people to connect with each other, build communities,” and

                      27   “express [one]self” through “sharing status updates, photos, videos, and stories” or “adding

                      28   content” to one’s profile. See Mahoney Decl., Ex. A. Defendants allow users to choose the
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                       1   content they share. Specifically, Facebook’s users can choose to (1) share data that is only visible

                       2   to them; (2) share data that is visible to “friends” and “friends of anyone tagged in the data; and

                       3   (3) share data that “anyone including people off of Facebook can see.” See Declaration of Jeffrey

                       4   E. Tsai (“Tsai Decl.”), Ex. B. Similarly, Instagram allows users to post data that “anyone will be

                       5   able to see [] on the web.” Id., Ex. C.

                       6          Far from harming Defendants’ users, Stackla highlights precisely the type of quality user-

                       7   created, social media content that lead Defendants’ users to create and share their content publicly

                       8   in the first place, and drives traffic to Defendants’ platforms. For both Facebook and Instagram,

                       9   if a user sets her posts to “public,” anyone— including people outside the platforms— can see the
                      10   content. See Id., Ex. C. (“If your posts are set to public, anyone will be able to see your profile by

                      11   visiting instagram.com/[your username] on the web.”) & Ex. B. (“When you share something

                      12   with Public that means anyone including people off of Facebook can see it.”). While other social

                      13   media platforms exist beyond Facebook and Instagram, they do not have the same number of

                      14   users or the same quality and volume of content, and do not offer a viable alternative. See

                      15   Mahoney Decl., ¶ 15. Defendants are the dominant market leaders in social media with the most

                      16   user-created content, and are the primary source of content for Stackla’s clients. Id. Without

                      17   access to Defendants’ content, Stackla’s clients will not use Stackla. Id.

                      18          C.      Stackla Becomes an Official Facebook Marketing Partner
                      19          Facebook offers a Facebook Marketing Partner program, “a global community of
                      20   specialists known for their excellent service and technical skill. The program offers client

                      21   matches and gives access to resources that can help fuel the growth of your business.” Id., ¶ 18.

                      22   In April 2018, Stackla applied to become an official Facebook Marketing Partner (“FMP”). Id.

                      23          All FMPs are supported and vetted by Facebook. Id., ¶ 17. The process of becoming an

                      24   official FMP took more than a year and involved extensive review and vetting of Stackla’s

                      25   business model, client base, and application, including demonstrations of the Stackla platform and

                      26   in-applications reviews as recently as May 2019. Id., ¶ 20. On May 25, 2019, Facebook accepted

                      27   Stackla into the FMP program and Stackla appeared on the FMP site as an official partner of

                      28   Facebook on May 29, 2019. Id., ¶ 19. As an FMP, Stackla was awarded a Facebook Marketing
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                       1   Badge, which is given only to companies “who meet the highest standards of performance and

                       2   service. If you’ve got a badge, it tells everyone you’re among the best at what you do.” Id.

                       3   Stackla’s core value proposition, its use of Facebook and Instagram content, and business model

                       4   has not changed since Facebook vetted Stackla just a few months ago. Id., ¶ 17.

                       5          D.      The Cambridge Analytica Scandal and Facebook’s Privacy Practices
                       6          In 2010, Facebook launched the Open Graph API for third party applications, allowing

                       7   external developers to connect with Facebook’s users and to request permission to access their

                       8   content. Tsai Decl., Ex. D. In 2015, The Guardian broke the story of a massive scandal involving

                       9   misappropriation of tens of millions of Facebook users’ information from the Facebook platform
                      10   by Cambridge Analytica, a British political consulting firm. Id., Ex. E. In response, Facebook

                      11   denied the application developer access to the Facebook platform and demanded deletion of the

                      12   user information given to Cambridge Analytica. Id., Ex. D. However, in 2018, The Guardian and

                      13   the New York Times, among others, reported that more than 50 million Facebook users’ profiles

                      14   were harvested for Cambridge Analytica. Id., Ex. F. Later in March 2018, the Federal Trade

                      15   Commission opened an investigation into whether Facebook had violated a prior settlement with

                      16   the FTC relating to Facebook user protections, which Facebook ultimately settled in 2019 for a

                      17   record-breaking $5 billion dollar fine. Id., Ex. G. Facebook remains under the shadow of the

                      18   Cambridge Analytica scandal with continuing regulatory investigations and scrutiny of its privacy

                      19   practices.
                      20          E.      The August 2019 Business Insider Articles
                      21          On or about August 7, 2019, Business Insider—an online popular news organization—

                      22   published an article asserting that Instagram’s lax privacy practices had allowed another

                      23   advertising partner to track and store user location profiles, improperly store user content without

                      24   permission, and re-sell user profiles built with Facebook and Instagram data for advertising

                      25   and/or third party consumer tracking purposes. See Mahoney Decl., ¶ 24. This article drew

                      26   unwanted attention to Instagram because, to some extent, Facebook had managed to steer the

                      27   scrutiny of its privacy practices away from Instagram. Now, suddenly Business Insider had

                      28   placed Instagram squarely in the midst of Facebook’s privacy challenges, creating a major threat
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                       1   to Instagram’s business. Business Insider called it “Instagram’s Cambridge Analytica moment.”

                       2   Tsai Decl., Ex. H.

                       3           On or about August 23, 2019, Business Insider published a second article reporting that

                       4   Facebook was reviewing its FMPs over Instagram data scraping issues. Mahoney Decl.., ¶ 25.

                       5   The article reported inaccurately that Stackla might be scraping data from Instagram. Id. Stackla

                       6   strongly denied the allegation. Id. Stackla attempted to confirm to Defendants directly on

                       7   multiple occasions that it was not scraping data from Instagram, but Stackla’s attempts were met

                       8   with radio-silence, and Defendants have never responded to Stackla. Id., ¶ 28, 34.

                       9           F.     The August 30, 2019 Cease and Desist Letter and Termination of Access
                      10           On August 30, 2019, just a few months after Facebook’s successful vetting of Stackla as

                      11   an FMP, Stackla received a “Cease and Desist Abuse of Facebook” letter on August 30, 2019 (the

                      12   “Cease-and-Desist Letter”) that essentially demanded that Stackla destroy its entire business.

                      13   Mahoney Decl., ¶ 29. The Cease-and-Desist Letter accused Stackla of violating (i) state and

                      14   federal laws, including the Computer Fraud And Abuse Act, 18 U.S.C. § 1030 and the California

                      15   Comprehensive Computer Data Access and Fraud Act, California Penal Code § 502(c), (ii)

                      16   Instagram’s Terms of Use and Platform Policy, and (iii) Facebook’s Terms of Service and

                      17   Platform Policy. Id., Ex. I. In addition, the Cease-and-Desist Letter asserted that Stackla had

                      18   breached a Master Subscription Agreement (“MSA”). Id. Lastly, the letter stated that Stackla was

                      19   suspended as a FMP and demanded that Stackla cease accessing Facebook or Instagram and agree
                      20   never to do so again in the future. Id., ¶ 29. Among other draconian demands, the Cease-and-

                      21   Desist Letter also demanded that Stackla turn over its proprietary information, including software

                      22   code.

                      23           That same day, Stackla’s access to the API was terminated, cutting Stackla off from

                      24   Facebook and Instagram. Id., ¶30. The personal Facebook and Instagram accounts of its officers

                      25   were also terminated, and a number of Stackla’s current and former employees were barred

                      26   access to their personal accounts without notice or explanation. Id.

                      27   /////

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                       1          Stackla was shocked to receive the Cease-and-Desist Letter, especially after its recent

                       2   vetting as a FMP, its strong public denial in the Business Insider article, and its multiple

                       3   communications to Defendants denying the allegations both before and after the article was

                       4   published. Id., ¶¶ 17, 25, 28, 34. Stackla was also shocked that its access to Facebook and

                       5   Instagram was cut off that same day, crippling its business. Id., ¶ 31.

                       6          Stackla promptly retained counsel and responded to the Cease-and-Desist Letter, disputing

                       7   that Stackla scraped data from Instagram, demanding reinstatement on Defendants’ platforms,

                       8   and informing Defendants of the irreparable harm Defendants had caused and were continuing to

                       9   cause to Stackla. Id., ¶ 33. The parties have attempted further communications without result as
                      10   Stackla’s access to Facebook and Instagram is still completely cut off, and on September 16,

                      11   2019, Defendants’ counsel confirmed that Defendants would not be reinstating Stackla. Id., ¶ 35.

                      12   Tsai Decl., ¶ 4.

                      13          Since the Cease-and-Desist Letter, media sources have reported that Stackla’s business is

                      14   in jeopardy due to Defendants’ actions and that Stackla’s initial public offering is in limbo. Id.,

                      15   ¶ 39. A majority of Stackla’s customers have already raised their concerns regarding lack of

                      16   access and Stackla’s breach, and if not cured, Stackla’s customer contracts will be terminated. Id.,

                      17   ¶ 36. Stackla is losing business every day and will soon reach a tipping point where Stackla can

                      18   no longer operate. Id., ¶ 38.

                      19                                              ARGUMENT
                      20   IV.    A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                  ARE NECESSARY TO PREVENT IRREPARABLE HARM TO STACKLA
                      21

                      22          Stackla meets the legal standard for a temporary restraining order here, including

                      23   establishing (1) a likelihood of immediate irreparable harm that would result if an injunction

                      24   were not issued, (2) a likelihood of success on the merits, (3) the balance of equities tips in favor

                      25   of the plaintiff, and (4) an injunction is in the public interest. Patino v. Franklin CreditMgmt.

                      26   Corp, No. 16-cv-02695-LB, 2017 WL 1246853, at *1-2 (N.D. Cal. Apr. 5, 2017). In addition, the

                      27   court uses “a ‘sliding scale’ approach to these factors, according to which ‘a stronger showing of

                      28   one element may offset a weaker showing of another.’ [] So, when the balance of hardships tips
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                       1   sharply in the plaintiff’s favor, the plaintiff need demonstrate only ‘serious questions going to the

                       2   merits.’” hiQ Labs, Inc. v. LinkedIn Corp., No. 17-16783, 2019 WL 4251889, at *4 (9th Cir.

                       3   Sept. 9, 2019) (affirming injunctive relief where a business would be destroyed without access to

                       4   a social media platform). Here, the balance of the equities is also sharply tipped in Stackla’s

                       5   favor.

                       6            A.     Stackla Will Suffer Irreparable Harm Without an Injunction
                       7            Stackla’s business will be destroyed and it will be insolvent if access to Defendants’

                       8   platforms and public content is not restored. Stackla cannot wait for an adjudication on the merits

                       9   because a majority of Stackla’s customers have already raised their concerns regarding lack of
                      10   access and Stackla’s breach of their contracts and the rest will soon follow. Mahoney Decl., ¶ 36.

                      11   Stackla will lose its clients and revenue, and it has been unable to bring in new clients since news

                      12   of Defendants’ conduct has been made public. Id., ¶ 38. Absent emergency relief, Stackla’s

                      13   business will be irretrievably destroyed before any hearing can take place and any relief on the

                      14   merits will be too late to save Stackla.

                      15                   1.      A TRO is Necessary for Stackla’s Survival
                      16            A temporary restraining order “preserves the status quo and prevents irreparable harm

                      17   until a hearing can be held on a preliminary injunction application.” Patino, 2017 WL 1246853,

                      18   at *1. The standard for granting a temporary restraining order is “substantially identical” to the

                      19   standard for granting a preliminary injunction. StuhlbargInt’l Sales Co., Inc. v. John D. Brush &
                      20   Co. Inc., 240 F.3d 832, 839 n.7 (9th Cir. 2001). A temporary restraining order must issue now to

                      21   preserve the status quo. Irreparable injury is “the single most important prerequisite for the

                      22   issuance of a preliminary injunction.” Freedom Holdings, Inc. v. Spitzer, 408 F.3d 112, 114 (2nd

                      23   Cir. 2005). “The threat of being driven out of business is sufficient to establish irreparable harm.”

                      24   Am. Passage Media Corp. v. Cass Commc’ns, Inc., 750 F.2d 1470, 1474 (9th Cir. 1985). In

                      25   addition, the loss of current and prospective customers “is considered to be irreparable harm that

                      26   justifies equitable relief.” Shippers, Inc. v. Fontenot, No. 13CV1349 JLS (MDD), 2013 WL

                      27   12092056 at *6 (S.D. Cal. Sept. 23, 2013). There is no more irreparable harm than the total

                      28   destruction of a business which will become insolvent and fail if relief is not granted. hiQ Labs,
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                       1   Inc. v. LinkedIn Corp., No. 17-16783, 2019 WL 4251889, at *4 (9th Cir. Sept. 9, 2019)

                       2   (“showing a threat of ‘extinction’ is enough to establish irreparable harm”). For over seven years,

                       3   Stackla invested in building its business based on public content available on Facebook and

                       4   Instagram. Mahoney Decl., ¶ 3, 5. If access to this content is denied, then Stackla will breach its

                       5   client agreements, lose its prospective clients and investors, will be unable to make an initial

                       6   public offering, must lay off its employees, and shutter its operations. Id., ¶ 2, 36-39. No other

                       7   public or non-public sources of content can replace the content from Facebook and Instagram,

                       8   and no other comparable public platform exists. Id., ¶ 15.

                       9                  2.       Other Courts Have Issued Injunctions in Similar Circumstances
                      10          Stackla is not the first victim of Defendants’ anti-competitive and business destroying

                      11   conduct. On April 15, 2019, another company cut off by Defendants obtained an injunction

                      12   against Facebook in the Federal Court of Australia, Victoria District, in the matter of Dialogue

                      13   Consulting Pty Ltd. v. Instagram, Inc., VID 369/2019, preventing the destruction of its business.

                      14   On May 3, 2019, Instagram was also joined in that matter. Request for Judicial Notice (“RJN”),

                      15   Exs. A-B. There is also recent Ninth Circuit precedent for injunctive relief in the September 9,

                      16   2019, opinion of the Court of Appeals for the Ninth Circuit in the matter of hiQ Labs, Inc. v.

                      17   LinkedIn Corporation, No. 17-16783 (District Court No. 3:17-cv-03301-EMC). Under similar

                      18   circumstances, the Ninth Circuit affirmed an order enjoining another social media company from

                      19   barring a plaintiff access to its platform and public content because plaintiff’s entire business was
                      20   predicated on that content and would be destroyed if not allowed access. Id. at Ex. C; hiQ Labs,

                      21   Inc. v. LinkedIn Corp., No. 17-16783, 2019 WL 4251889, at *5 (9th Cir. Sept. 9, 2019). As the

                      22   Ninth Circuit put it, “showing a threat of extinction” is sufficient for a business to establish

                      23   irreparable harm. Id.

                      24          B.      The Balance Of Hardships Tips Strongly In Favor of Stackla
                      25          Facebook’s revocation of Stackla’s access to public content on Facebook and Instagram

                      26   will devastate Stackla, while retaining the status quo of access to Defendants’ platforms would

                      27   have little, if any, negative effect on Defendants. Facebook alone is currently valued at

                      28   approximately $140 billion, even after the Cambridge Analytica scandal and related regulatory
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                       1   consequences. Whatever adverse economic effect Stackla’s existence could conceivably have on

                       2   Defendants could not possibly warrant the extinction of Stackla before a preliminary injunction

                       3   hearing occurs.

                       4             It bears emphasizing that Stackla considers that its service—of connecting content-

                       5   creating users who publicly support a Stackla client’s brand to the client so that the content (once

                       6   rights are approved) is used in advertising—only adds value to Defendants and their content-

                       7   creating users. This is a situation in which an injunction aids both parties, and allows the status

                       8   quo to continue pending a hearing.

                       9             C.     Stackla is Likely to Succeed On the Merits of Its Claims
                      10                    1.      Stackla is Likely to Prevail on its Claims for Intentional Interference with
                                                    Contract and Prospective Economic Advantage
                      11

                      12             Under California law, “a stranger to a contract may be liable in tort for intentionally

                      13   interfering with the performance of that contract.” Reeves v. Hanlon, 33 Cal. 4th 1140, 1148

                      14   (2004) (internal cites omitted). To show intentional interference with an existing contractual

                      15   relationship, a plaintiff must demonstrate “(1) a valid contract between plaintiff and a third party;

                      16   (2) defendant’s knowledge of this contract; (3) defendant’s intentional acts designed to induce a

                      17   breach or disruption of the contractual relationship; (4) actual breach or disruption of the

                      18   contractual relationship; and (5) resulting damage.” Disney Enterprises, Inc. v. Redbox Automated

                      19   Retail, LLC, No. CV1708655DDPAGRX, 2018 WL 1942139, at *9 (C.D. Cal. Feb. 20, 2018). To
                      20   show interference with prospective economic advantage, a plaintiff must also plead and prove

                      21   “that the defendant engaged in an independently wrongful act,” which means an act that is

                      22   '“proscribed by some constitutional, statutory, regulatory, common law, or other determinable

                      23   legal standard.” Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1158-1159

                      24   (2003).

                      25             First, Stackla has valid customer contracts with approximately 280 clients. See Mahoney

                      26   Decl., ¶ 9. Second, Defendants have and had knowledge of Stackla’s valid customer contracts,

                      27   especially through the FMP application, vetting, and approval process. Id., ¶ 21. Stackla also

                      28   informed Facebook of its base of clients, ensuring such knowledge. Id.
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                       1           Second, to demonstrate intentional interference, Stackla can show that Defendants knew

                       2   that disruption was certain to occur as a result of its actions. Reeves, 33 Cal. 4th at 1148. Here,

                       3   Defendants knew that Stackla’s business depended on access to Facebook and Instagram and that

                       4   its client relationships and entire business would be destroyed if access to their platforms and

                       5   public content was denied. Mahoney Decl., ¶ 13-21.

                       6           Third, Facebook’s actions have disrupted and will continue to disrupt Stackla’s business,

                       7   including requiring Stackla, to breach its client contracts. See Mahoney Decl., passim. This has

                       8   already begun as a majority of Stackla’s customers have already raised their concerns regarding

                       9   lack of access and Stackla’s breach, and if not cured, Stackla’s customer contracts will be
                      10   terminated. Id., ¶ 36. As Stackla’s entire business is premised on accessing public content on

                      11   Facebook and Instagram to provide marketing strategies to clients, the inevitable result of

                      12   Defendants’ actions is destruction of Stackla’s business. Id., ¶ 9-16. Terminating an essential

                      13   service so that a company cannot perform its contracts is intentional interference. H&M Assocs.

                      14   v. City of El Centro, 109 Cal. App. 3d 399, 405 (1980). Just as cutting off a water supply

                      15   eliminated a landlord’s ability to keep his tenants, cutting off Stackla’s access to public content

                      16   on Facebook and Instagram will require Stackla to breach its client contracts and prevent it from

                      17   consummating pending contracts with prospective clients. Mahoney Decl., ¶ 2, 36-38. It will

                      18   also disrupt Stackla’s investor relationships and prevent Stackla’s IPO.

                      19           Fourth, the damage requirement is easily satisfied because, as detailed herein, Stackla will
                      20   suffer the loss of its entire business, its IPO, and insolvency if Defendants’ acts are not restrained.

                      21   Id., ¶ 2, 31, 36-39.

                      22           For Stackla’s claim for interference with prospective economic advantage, Defendants

                      23   have committed an “independently wrongful act.” See Korea Supply Co., 29 Cal. 4th at 1158.

                      24   Stackla need only establish that Defendants’ acts “were unlawful for a reason other than that they

                      25   interfered with [plaintiff’s] prospective economic advantage” to establish that Defendants

                      26   committed an independently wrongful act. CRST Van Expedited, Inc. v. Werner Enters., Inc., 479

                      27   F.3d 1099, 1110 (9th Cir. 2007). Defendants actually committed three independently wrongful

                      28   acts when they revoked Stackla’s access to public content on their platforms: Defendants (1)
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                       1   breached their MSA; (2) breached their express promises (including that their user content is

                       2   “public,” users control the visibility of their content, and anyone including Stackla may access

                       3   and share the public content); and (3) violated the UCL, which constituted unfair and business

                       4   practices.2 See infra. Defendants should not be allowed to intentionally and wrongfully disrupt

                       5   Stackla’s client contracts, prospective client and investor relationships, employee relationships,

                       6   and even Stackla’s solvency by revoking access to Defendants’ platforms and public content.

                       7                     2.       Stackla is Likely to Prevail on Its Claims for Unfair Competition
                       8            California’s Unfair Competition Law (“UCL”) prohibits any “unlawful, unfair or

                       9   fraudulent business act or practice.” Cal. Bus. & Prof. Code § 17200. “Each prong of the UCL is
                      10   a separate and distinct theory of liability” and “an independent basis for relief.” Pemberton v.

                      11   Nationstar Mortg. LLC, 331 F. Supp. 3d 1018, 1047 (S.D. Cal. 2018). Defendants’ decision to

                      12   deny Stackla access to admittedly “public” content on their platforms is unlawful, unfair, and

                      13   fraudulent.

                      14            Under Business & Professions Code § 17204, Stackla has standing to seek injunctive

                      15   relief. “[T]o have standing to bring a section 17200 cause of action, a plaintiff must (1) establish

                      16   a loss or deprivation of money or property sufficient to qualify as injury in fact, i.e., economic

                      17   injury, and (2) show that the economic injury was the result of, i.e., caused by, the unfair business

                      18   practice [] that is the gravamen of the claim.” Bower v. AT&T Mobility, LLC, 196 Cal. App. 4th

                      19   1545, 1554 (2011). The injury in fact requirement is satisfied if Stackla can show “an invasion of
                      20   a legally protected interest which is (a) concrete and particularized, and (b) actual or imminent,

                      21   not conjectural or hypothetical.” Id. (internal citations and quotations omitted). Here, Stackla’s

                      22   injuries—the loss of current and prospective revenues from its client contracts, the loss of

                      23   investor relationships and its IPO, and its ultimate insolvency—are all economic and caused by

                      24   Defendants’ termination of Stackla’s access to public content on Defendants’ platforms.

                      25   /////

                      26   2
                             A violation of the UCL is sufficient to establish an “independently wrongful act” for a claim for interference with
                           prospective economic advantage. CRST Van Expedited, Inc. 479 F.3d at 1110-11 (“We see nothing inconsistent with
                      27   Della Penna in recognizing that the requirement of an independently wrongful act under the California law of
                           intentional interference with prospective economic relations may be satisfied even by an alleged violation of a
                      28   borrowing statute like the UCL.”).
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                       1   “Injunctions are ‘the primary form of relief available under the UCL,’” and essential to the

                       2   survival of Stackla here. Kwikset Corp. v. Super. Ct., 51 Cal. 4th 310, 337 (2011).

                       3          Defendants’ disruption of Stackla’s contractual and prospective client relationships, its

                       4   investor relationships and IPO, and its business as a whole are unlawful and constitute violations

                       5   of the UCL. The UCL borrows “violations of other laws and treats them as unlawful practices that

                       6   the unfair competition law makes independently actionable.” Cel-Tech Commc’ns, Inc. v. Los

                       7   Angeles Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999). Thus, Defendants’ conduct establishes a

                       8   claim under the “unlawful” prong of the UCL. CRST Van Expedited, Inc. v. Werner Enters., Inc.,

                       9   479 F.3d 1099 (9th Cir. 2007).
                      10          Defendants’ termination of Stackla’s access to public content on Defendants’ platforms is

                      11   an “unfair” practice under the UCL. “Unfair” practices are viewed broadly: “In permitting the

                      12   restraining of all ‘unfair’ business practices, section [17200] undeniably establishes only a wide

                      13   standard to guide courts of equity; as noted above, given the creative nature of the scheming

                      14   mind. . . . (I)t would be impossible to draft in advance detailed plans and specifications of all acts

                      15   and conduct to be prohibited (citations omitted), since unfair or fraudulent business practices may

                      16   run the gamut of human ingenuity and chicanery.” Motors, Inc. v. Times Mirror Co., 102 Cal.

                      17   App. 3d 735, 739-40 (1980) (internal quotes and cites omitted).

                      18          A business practice is “unfair” “if it violates established public policy or if it is immoral,

                      19   unethical, oppressive or unscrupulous and causes injury to consumers which outweighs its
                      20   benefits. . . . The determination whether a business practice is unfair involves an examination of

                      21   [that practice’s] impact on its alleged victim, balanced against the reasons, justifications and

                      22   motives of the alleged wrongdoer. The court must weigh the utility of the defendant’s conduct

                      23   against the gravity of the harm to the alleged victim.” McKell v. Washington Mut., Inc., 142 Cal.

                      24   App. 4th 1457, 1473 (2006) (internal cites and quotes omitted); S. Bay Chevrolet v. Gen. Motors

                      25   Acceptance Corp., 72 Cal. App. 4th 861, 886-87 n.24 (1999) (applying balancing test in

                      26   commercial consumer context).

                      27          Here, Defendants’ actions are “unfair” business practices. Defendants denied Stackla

                      28   access to their platforms, suspended Stackla as an FMP, and assert that Stackla is in breach of the
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                       1   MSA. Defendants know that Stackla’s business model depends on access to Facebook and

                       2   Instagram. The impact to Stackla is devastating; its entire business model and client prospects, as

                       3   well as its investor and employee relationships and its IPO, are being destroyed. Mahoney Decl.,

                       4   ¶ 2, 36-39. Defendants’ purported justification—protection of user content—is pre-textual as

                       5   Stackla accesses content only through public sources and Facebook’s authorized API. Id., ¶ 9-22.

                       6   Defendants have never hinted at any concrete harm that Stackla has caused to Defendants or their

                       7   users. Id., ¶ 29. Defendants have only vaguely complained about Stackla allegedly “scraping”

                       8   data from Instagram, but have shown no evidentiary support and Stackla strongly denies this

                       9   allegation. Id. Instead, Defendants simply want to lock down access to public content on their
                      10   platforms that they do not own, limit its use for their own purposes, and deflect bad, inaccurate

                      11   publicity away from Instagram. Id., ¶ 23-28. Defendants’ conduct also violates the UCL’s

                      12   “unfair” prong.

                      13          Defendants’ conduct also violates the “fraudulent” prong of the UCL because Defendants

                      14   promises of access by everyone to publicly shared or posted information are false and likely to

                      15   deceive users and businesses alike. In re Tobacco II Cases, 46 Cal. 4th 298, 312 (2009)

                      16   (“fraudulent” business practice under the UCL is one where users of the public are likely to be

                      17   deceived). Here, Defendants’ terms of use promise their users that only the users own their

                      18   content and control their privacy settings, while Defendants hold only non-exclusive licenses to

                      19   the content. In addition, Defendants developed and operate the Facebook API to allow third party
                      20   application developers like Stackla to access public content of Defendants’ users. Defendants

                      21   also vetted Stackla’s business model and application through the FMP program, including

                      22   requiring Stackla to demonstrate that its clients spend significant advertising revenue on

                      23   Facebook and Instagram, to be approved as an official FMP. Again, Defendants made clear

                      24   promises to Stackla and other third party application developers and FMPs that they would have

                      25   access to users’ public content through the API and could acquire the rights to user content.

                      26   Instead, Defendants are controlling who can access user content and whether the information will

                      27   be public. These statements are false, likely to deceive the public, and violate the “fraudulent”

                      28   prong of the UCL.
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                       1                     3.   Stackla is Likely to Prevail on its Breach of Contract and Breach of the
                                                  Implied Covenant Claims
                       2

                       3          Under California law, a claim for breach of contract must show: (1) the existence of a

                       4   contract; (2) plaintiff’s performance or excuse for non-performance; (3) defendant’s breach; and

                       5   (4) damages to plaintiff therefrom. Acoustics, Inc. v. Trepte Constr. Co., 14 Cal. App. 3d 887, 913

                       6   (Cal. Ct. App. 1971). Similarly, a claim for breach of the implied covenant of good faith and fair

                       7   dealing must show “(1) the parties entered into a contract; (2) the plaintiff fulfilled his obligations

                       8   under the contract; (3) any conditions precedent to the defendant's performance occurred; (4) the

                       9   defendant unfairly interfered with the plaintiff's rights to receive the benefits of the contract; and

                      10   (5) the plaintiff was harmed by the defendant's conduct.” In re Yahoo! Inc. Customer Data Sec.

                      11   Breach Litig., No. 16-MD-02752-LHK, 2017 WL 3727318, at *48 (N.D. Cal. Aug. 30, 2017).

                      12   Because Defendants’ actions satisfy each element of both claims, Stackla is entitled to a TRO

                      13   enjoining Defendants from restricting Stackla’s access to Defendants’ platforms. See Colonial

                      14   Life & Accident Ins. Co. v. Stentorians-L.A. Cnty. Blackfire, 13-CV-9235-CAS, 2013 WL

                      15   6732687, at *3-4 (C.D. Cal. Dec. 19, 2013) (granting TRO based on breach of contract claim);

                      16   Brinker v. JP Morgan Chase, N.A., No. 13-CV-01344-LHK, 2013 WL 7798675, at *2-3(N.D.

                      17   Cal. May 17, 2013) (granting TRO based on breach of implied covenant of good faith and fair

                      18   dealing claim).

                      19          Defendants’ breaches of contract and the implied covenant arise from several agreements.

                      20   First, Defendants and Stackla US entered into a Master Subscription Agreement on June 1, 2018,

                      21   which requires Defendants to provide access to their platforms so Stackla US can perform the

                      22   agreed upon services. This MSA states that a party may terminate the agreement only if the other

                      23   party fails to cure any material breach within thirty days after written notice of such breach. Yet,

                      24   on August 30, 2019, Facebook cited to the MSA as the basis for depriving not just Stackla US but

                      25   all the Stackla entities of access to Defendants’ platforms. Defendants failed to providing Stackla

                      26   US any prior written notice of any alleged material breach or the contractually-mandated 30 days

                      27   to cure. Mahoney Decl., ¶ 29-32. Accordingly, Defendants’ actions breach the MSA. Second,

                      28   this conduct and Defendants’ termination of access to its platforms and user content for Stackla
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                       1   also breach Defendants’ agreements to provide access through the Open Graph API for Stackla

                       2   and other third party application developers and their approval of Stackla to access the platforms

                       3   after vetting and approving Stackla as an official FMP. Moreover, Defendants know from this

                       4   vetting process that Stackla’s entire business is predicated on access to Facebook and Instagram,

                       5   and in depriving Stackla of such access, Defendants are both breaching their agreements and

                       6   depriving Stackla of the benefits of those agreements in violation of the implied covenant of good

                       7   faith and fair dealing.

                       8           Given Stackla’s likelihood of success on its contract and implied covenant claims,

                       9   Defendants’ breaches require a TRO and preliminary injunction forcing Defendants to reinstate
                      10   Stackla’s access to the Facebook and Instagram platforms. Courts routinely grant relief

                      11   maintaining the contractual status quo in a breach of contract action while the matter is litigated.

                      12   See, e.g., Washington Capitols Basketball Club, Inc. v. Barry, 304 F. Supp. 1193, 1196 (N.D. Cal.

                      13   1969); Kaiser Trading Co. v. Associated Metals & Minerals Corp., 321 F. Supp. 923, 928 (N.D.

                      14   Cal. 1970). The same relief is appropriate here as the alternative is destruction of Stackla’s

                      15   business.

                      16                   4.        Stackla is Likely to Prevail on its Promissory Estoppel Claim
                      17           “The elements of promissory estoppel are (1) a clear promise, (2) reliance, (3) substantial

                      18   detriment, and (4) damages ‘measured by the extent of the obligation assumed and not

                      19   performed.’” See Toscano v. Greene Music, 124 Cal. App. 4th 685, 692 (2004) (identifying
                      20   elements). Each element of promissory estoppel is satisfied here.

                      21           First, Defendants’ promises are clear. “To be enforceable, a promise need only be

                      22   ‘definite enough that a court can determine the scope of the duty, and limits of performance must

                      23   be sufficiently defined to provide a rational basis for the assessment of damages.’” Garcia v.

                      24   World Sav., FSB, 183 Cal. App. 4th 1031, 1045 (2010) (internal citation omitted). Defendants

                      25   promised that their users that they own their content, choose the content they share, and that one

                      26   of the settings is “public,” a setting that gives access to “anyone including people off of

                      27   Facebook.” Tsai Decl., Ex. B; see also id., Ex. C (“anyone will be able to see your profile [] on

                      28   the web”). These promises of the ability to publicly “connect with each other, build
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                       1   communities,” and “express [one]self” through “sharing status updates, photos, videos, and

                       2   stories” or “adding content” to one’s profile are foundational to Defendants’ success. Mahoney

                       3   Decl., Ex. A; see also id., Ex. B (“Offering personalized opportunities to create, connect,

                       4   communicate, discover, and share.”).

                       5          Second, Stackla reasonably relied on Defendants’ express and implied assurances that

                       6   Stackla could access public content. Stackla’s business model was disclosed to Defendants and

                       7   vetted through the FMP program and the Oculus RFP process. Mahoney Decl., ¶¶ 17-22.

                       8   Defendants knew that Stackla’s entire business model relies on access to Facebook and

                       9   Instagram, and approved Stackla’s business model and application. In fact, Defendants have
                      10   always allowed third party application developers access to their platforms’ public content— the

                      11   Facebook API was built and offered to Stackla and others for this purpose. Id. ¶ 3, 5. Defendants’

                      12   conduct was particularly unfair as to Stackla, because Defendants have not provided any

                      13   substantiated reasons for terminating Stackla’s access. Nor have Defendants evenly or

                      14   consistently applied their damaging actions to Stackla’s competitors, who are still able to access

                      15   Defendants’ platforms—except for other victims of Defendants chosen for extinction, like

                      16   Dialogue Consulting Pty Ltd. Id., ¶ 40, RJN Exs. A-B. Thus, Defendants are literally choosing

                      17   market winners and losers, likely for their own gain. Id. ¶ 21, 25.

                      18          Third, Stackla’s reliance on Defendants’ promises was to its substantial detriment. Based

                      19   on Defendants’ API and the FMP, Stackla spent millions of dollars and thousands of hours
                      20   investing in its business predicated on Defendants’ promise of access to public content on

                      21   Defendants’ platforms. Id. ¶ 2. If Stackla is not permitted access, its business will be destroyed.

                      22          Fourth, Stackla will suffer damages and insolvency as a direct result of Defendants’

                      23   conduct. By denying Stackla access to Defendants’ platforms, Defendants have caused

                      24   potentially irreparable damage to Stackla, including loss of its client contracts, loss of its investor

                      25   relationships and potential IPO, and probable insolvency. Id. ¶ 2, 36-19. An immediate

                      26   injunction is necessary to prevent this damage from culminating in the destruction of Stackla’s

                      27   business. “[I]njunctive relief is . . . a proper remedy for a claim based on promissory estoppel.”

                      28   Nicol v. Nelson, 776 P.2d 1144, 1146 (Colo. App. 1989) (citing illustration from Restatement
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                       1   Section 90); Edmonds v. Los Angeles Cty., 40 Cal. 2d 642, 653 (1953) (approving Restatement

                       2   Section 90 and specifically enforcing property owner’s promise to comply with grant of

                       3   nonconforming use to ordinance).

                       4                  5.      Stackla is Likely Entitled To Declaratory Judgment that It Has Not
                                                  Violated the CFAA or California Penal Code § 502(c)
                       5

                       6          An actual controversy exists between Stackla and Facebook based on the Cease-and-

                       7   Desist Letter. Courts may “declare the rights and other legal relations” of parties “[i]n a case of

                       8   actual controversy.” 28 U.S.C. § 2201. “[T]he question in each case is whether the facts alleged,

                       9   under all circumstances, show that there is a substantial controversy, between parties having
                      10   adverse legal interests, of sufficient immediacy and reality to warrant the issuance of a

                      11   declaratory judgment.” MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007) (internal

                      12   quotation marks and citations omitted). Issues raised in a “Cease-and-Desist Letter” are sufficient

                      13   to find “that there is a substantial controversy between the parties, that they have adverse

                      14   interests, and that the controversy is real and immediate.” TransFresh Corp. v. Ganzerla &

                      15   Assoc., Inc., 862 F. Supp. 2d 1009, 1021 (N.D. Cal. 2012).

                      16          As in TransFresh, the Cease-and-Desist Letter details why Stackla’s continued access of

                      17   Defendants’ platforms is allegedly illegal, and threatens Stackla with litigation if it continues

                      18   accessing to access the platforms. Stackla and Defendants thus have immediate adverse legal

                      19   interests that warrant a declaratory judgment. MedImmune, 549 U.S. at 127; Transfresh, 862 F.
                      20   Supp. 2d at 1021; see also Cabell v. Zorro Prods., Inc., No. 5:15-CV-00771 (EJD), 2017 WL

                      21   2335597 at *9 (N.D. Cal. May 30, 2017) (actual controversy existed between parties in part

                      22   because defendant’s actions prevented plaintiff from licensing a musical to other companies).

                      23                          a.      Defendants’ claims would be brought for an improper purpose and
                                                          have an impermissible effect.
                      24

                      25          As detailed above, Defendants’ revocation of Stackla’s access to public content on their

                      26   platforms violates the parties’ contracts as well as common law, and unfair competition law

                      27   principles. Any claim Defendants could otherwise legally bring against Stackla is therefore void

                      28   and without force, as it would be brought for an improper purpose and with an improper effect.
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                       1   Phillips v. Crown Central Petroleum Corp., 602 F.2d 616, 629 (4th Cir. 1979) (“A refusal to deal

                       2   [] right is limited to situations where the seller has not put together an arrangement in restraint of

                       3   trade.”). Defendants’ tactic of interpreting the CFAA so broadly as to allow a per se prohibition

                       4   of access to publicly available information on their platform would “turn a criminal hacking

                       5   statute into a ‘sweeping Internet-policing mandate.’” hiQ Labs, Inc. v. LinkedIn Corp., No. 17-

                       6   16783, 2019 WL 4251889, at *14 (9th Cir. Sept. 9, 2019) (“the rule of lenity favors our narrow

                       7   interpretation of the ‘without authorization’ provision in the CFAA”). The Ninth Circuit recently

                       8   rejected that interpretation holding that “when a computer network generally permits public

                       9   access to its data, a user’s accessing that publicly available data will not constitute access without
                      10   authorization under the CFAA.” Id.

                      11                          b.      Stackla cannot be liable for violating the CFAA or California Penal
                                                          Code § 502(c).
                      12

                      13           Defendants’ actions violate a number of contract, common law, and unfair competition

                      14   laws such that any claims Facebook might otherwise be permitted to bring are barred for their

                      15   improper purpose and effect.

                      16           First, the CFAA offers Defendants no recourse because the “CFAA’s prohibition on

                      17   accessing a computer ‘without authorization’ is violated when a person circumvents a computer’s

                      18   generally applicable rules regarding access permissions, such as username and password

                      19   requirements, to gain access to a computer [not] when a computer network generally permits
                      20   public access to its data” and a user “access[es] that publicly available data.” hiQ Labs, Inc. v.

                      21   LinkedIn Corp., No. 17-16783, 2019 WL 4251889, at *14 (9th Cir. Sept. 9, 2019). Like HiQ,

                      22   Stackla is only accessing “publicly available data” on Defendants’ platforms; thus, Stackla is not

                      23   and cannot be in violation of the CFAA.

                      24           Similarly, Defendants’ claim that Stackla allegedly violated Cal. Penal Code § 502(c)

                      25   would also fail. To state a claim, Defendants would need to demonstrate Stackla’s actions “were

                      26   undertaken by overcoming a technical barrier without the permission of” Defendants. Synopsys,

                      27   Inc. v. Ubiquiti Networks, Inc., 313 F. Supp. 3d 1056, 1074 (N.D. Cal. 2018). As explained

                      28   /////
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                       1   above, Stackla’s actions were vetted, approved, and permitted by Defendants. Mahoney Decl.,

                       2   ¶ 17-22.

                       3           D.     An Injunction in Favor of Stackla is in the Public Interest
                       4           The public interest weighs strongly in favor of issuing an injunction. Preventing the

                       5   imminent destruction of Stackla’s business and certain insolvency while the Court examines the

                       6   legal issues prevents the termination of Stackla’s client contracts, preserves employee jobs and

                       7   investor relations, and will avoid deteriorate of the business to the point where it is not

                       8   salvageable. Id., ¶ 2. The public interest will be served by enjoining Defendants from committing

                       9   acts of unfair and unlawful competition. See Max Factor & Co. v. Factor, 226 F. Supp. 120, 126
                      10   (S.D. Cal. 1963) (“courts have consistently recognized the need to protect the public interest in

                      11   suits for … unfair competition”); Metro-Goldwyn-Mayer, Inc. v. Lee, 212 Cal. App. 2d 23, 28

                      12   (1963) (statute permitting injunction against acts of unfair competition “recognizes … the public

                      13   interest in protection against unfair business practices.”).

                      14           E.     No Bond Should Issue
                      15           No bond should be required by Stackla. Where no damage will result from a temporary

                      16   restraining order or preliminary injunction, no bond is necessary. Jorgenson v. Cassiday, 320

                      17   F.3d 906, 919 (9th Cir. 2003) (“The district court may dispense with the filing of a bond when it

                      18   concludes there is no realistic likelihood of harm to the defendant from enjoining his or her

                      19   conduct.”). Stackla seeks to prevent Defendants from denying Stackla access to public content on
                      20   Defendants’ platforms that Defendants formerly allowed. Defendants vetted Stackla’s business

                      21   model and application extensively for the FMP program, including an in-application review as

                      22   recently as May 2019. Defendants have not identified any actual harm that would result from

                      23   restoring Stackla’s access to their platforms. Thus, no bond is necessary or should be required.

                      24   V.      CONCLUSION
                      25           For the foregoing reasons, the Court should issue a temporary restraining order and an

                      26   order to show cause why a preliminary injunction should not be granted. If such relief is not

                      27   granted on an emergency basis, Stackla’s business will be irreparably destroyed.

                      28   /////
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                       1   Dated: September 19, 2019          FOR PLAINTIFFS STACKLA, INC., STACKLA
                                                              LTD., and STACKLA PTY LTD.
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                                                              By: /s/ Isabelle L. Ord
                       4                                          Jeffrey E. Tsai
                                                                  Isabelle L. Ord
                       5                                          David F. Gross
                                                                  Anthony L. Portelli
                       6                                          DLA PIPER LLP (US)
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